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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 TODD DAVIDSON, WILBERT                           )
 WIGGINS, GEORGE DOUGLAS, JR.,                    )
 CHARLES MAGEE, DARON                             )
 THOMPSON, EUGENE SMITH,                          )
 GEORGE RODGERS, KENTON                           )
 SMITH, SIDNEY WILLIAMS and                       )
 JIMOTHY AMOS a/k/a TIMOTHY                       )
 AMOS,on behalf of themselves and                 )
 others similarly situated,                       )
                                                  )        1:03-CV-1882-SEB-JPG
                Plaintiffs,                       )
                                                  )
        vs.                                       )
                                                  )
 CITIZENS GAS & COKE UTILITY,                     )

                Defendant.


               ENTRY ON CROSS MOTIONS FOR SUMMARY JUDGMENT


        This matter is before the court on the parties’ cross motions for summary judgment. For

 the reasons set forth in this entry, we hold that Plaintiffs’ Motion for Partial Summary Judgment

 should be granted and that Defendant’s Motion for Summary Judgment should be granted in part

 and denied in part.


                                       Factual Background


        Eight of the ten Plaintiffs are hourly employees of Defendant, Citizens Gas & Coke

 Utility (“Citizens”) who work in its manufacturing division and are represented by the

 International Brotherhood of Electrical Workers (“IBEW”). Plaintiff Sidney Williams applied

 for employment with Citizens during 2002 and again in 2004, but was not hired. Plaintiff
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 Jimothy Amos sought, but was denied employment with Citizens in 2003. All ten of the

 Plaintiffs are African-Americans who took, at least once, a written test known as the work

 competency assessment or “WCA”, which Citizens used at the time to screen inter-division

 transfer and promotion candidates as well as applicants. Citizens operates a gas division and

 thermal division in addition to its manufacturing division. Each division stands as a separate

 bargaining unit for non-exempt employees and, at least during the relevant time period, seniority

 in one division did not transfer to the others. If an employee was hired prior to June 28, 1987

 who wanted to transfer or bid on a job in another division, he had to pass a test, which, beginning

 in 1999, was the WCA. Generally, if no employee from within the division where an opening

 existed wanted the job, it was awarded to an interested person possessing the most seniority in

 another division. To secure the position, that person had to be under no current disciplinary

 constraints and had to have successfully passed the WCA. Employees hired after June 28, 1987,

 however, could not transfer into other divisions regardless of their scores on any selection tests.


        The WCA was developed by Roland Guay, a Purdue University professor. Dr. Guay and

 Citizens assert that the test was intended to allow Citizens to measure a person’s ability to take

 on certain jobs. Unless a test-taker scored at a certain level, he or she was deemed ineligible for

 hire, promotion or transfer to numerous positions.1 The required scoring levels for various jobs

 were set by Dr. Guay.




        1
          A score of 595 was necessary to qualify for a supervisory position, 570 for customer
 relations and 542 for nearly all other open positions.

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        Plaintiffs claim that the WCA had a discriminatory impact on African-Americans and, as

 a result, they were injured, either by their inability to compete equally for positions in other

 divisions or by being deemed ineligible for specific positions for which they had applied and

 which they otherwise would have received. Each Plaintiff asserts a claim of both disparate

 impact and disparate treatment, under Title VII of the Civil Rights Act, 42 U.S.C. § 2000e, as

 well as a claim of discrimination under 42 U.S.C § 1981. We previously granted partial

 summary judgment in Citizen’s favor with respect to any claim of disparate impact pursued

 under 42 U.S.C. § 1981. Inasmuch as a recovery under § 1981 requires a showing of wrongful

 intent, a disparate impact claim is not available under that statute. Majeske v. Fraternal Order of

 Police, Local Lodge No. 7, 94 F.3d 307, 312 (7th Cir. 1996). Plaintiffs’ request for class

 certification was denied as well.


        Citizens now seeks summary judgment on all the remaining claims brought against it by

 all Plaintiffs. Plaintiffs concede summary judgment is appropriate with respect to the claims of

 two job applicants, Jimothy Amos and Sidney Williams.2 However, Plaintiffs vigorously dispute

 that Citizens is entitled to summary judgment with respect to the claims of the other eight and, in

 fact, seek summary judgment in their favor on each of their disparate impact claims.


                                     Summary Judgment Standard


        In addressing cross motions for summary judgment, we may grant summary judgment (in



        2
          Since Amos and Williams have conceded summary judgment, our reference to
 “Plaintiffs” from this point forward is to those eight remaining Plaintiffs who took the WCA as a
 prerequisite to their promotions.

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 whole or in part) or deny (in whole or in part) either or both parties' motions. The standard for

 determining summary judgment is unchanged from that which applies when only a single party

 has moved for it. Summary judgment is available if there is no genuine issue as to any material

 fact and the moving party is entitled to judgment as a matter of law. To determine whether any

 genuine factual issue exists, the Court examines the pleadings and the proof as presented in

 depositions, answers to interrogatories, admissions, and affidavits made a part of the record.

 First Bank & Trust v. Firstar Information Services, Corp., 276 F.3d 317 (7th Cir.2001). The

 Court also draws all reasonable inferences from undisputed facts in favor of the non-moving

 party and views the disputed evidence in the light most favorable to the non-moving party.

 Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986). However, the non-moving party may not

 rest upon mere allegations in the pleadings or upon conclusory statements in affidavits; rather,

 the non-movant must go beyond the pleadings to support their contentions with properly

 admissible evidence. Celotex Corp. v. Catrett, 477 U.S. 317 (1986).


                                              Analysis


        Title VII and § 1981 both prohibit discrimination. Title VII is directed specifically at

 employment relationships, while 42 U.S.C § 1981 prohibits discrimination with regard to the

 making and enforcement of contracts, including employment contracts. There is an overlap in

 the employment situation and the same standards governing liability for intentional

 discrimination under Title VII apply to § 1981 claims. Gonzalez v. Ingersoll Milling Mach. Co.,

 133 F.3d 1025, 1035 (7th Cir. 1998). However, as we mentioned earlier, a successful claim

 under § 1981 requires a showing of intentional discrimination, while Title VII provides a cause


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 of action for intentional discrimination and discrimination which may not be intended, but which

 results from otherwise facially neutral actions. See Melendez v. Illinois Bell Telephone Co., 79

 F.3d 661 (7th Cir. 1996)(noting distinctions between some claims made under Title VII and

 claims made pursuant to 42 U.S.C. § 1981 and affirming verdict of liability on Title VII

 disparate impact claim where no liability was found under § 1981). In this matter we look first

 at those claims that do not require a showing of intent.


 Disparate Impact Claims


        In order to establish a prima facie case of discrimination under a disparate impact theory,

 a plaintiff must show that a facially neutral employment practice, in this case the WCA, had a

 significantly discriminatory impact. Connecticut v. Teal, 457 U.S. 440, 446 (1982); Anderson v.

 Westinghouse Savannah River Co., 406 F.3d 248, 265 (4th Cir. 2005). If such a showing is made,

 then the burden shifts to the employer to demonstrate that the employment practice has a

 manifest relationship to the particular employment in question. Teal, 457 U.S. at 446-47

 (quoting Griggs v. Duke Power Co., 401 U.S. 424 (1971)). If the employer satisfies that

 required showing, a plaintiff may still prevail if he shows that the employer was using the

 practice as a mere pretext for discrimination. Teal, 457 U.S. at 446-447; Anderson, 406 F.3d at

 265. A plaintiff employee also prevails if he can show that there is an equally valid substitute

 practice or, in this case, screening methodology available which would be less discriminatory

 than the one at issue and the employer refuses to utilize it. 42 U.S.C. § 2000e-2(k)(1)(A)(ii).




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        Where the challenged practice is an examination that is being used as a bright-line barrier

 to promotion (that is to say, an employee may only be promoted if he passes the test), it does not

 suffice as a defense that the employer might be able to demonstrate statistically acceptable

 bottom–line results from the promotion process and such results would not defeat a prima facie

 showing by plaintiff(s).

                In short, the District Court's dismissal of respondents' claim cannot be
        supported on the basis that respondents failed to establish a prima facie case of
        employment discrimination .... The suggestion that disparate impact should be
        measured only at the bottom line ignores the fact that Title VII guarantees these
        individual respondents the opportunity to compete equally with white workers on
        the basis of job-related criteria. Title VII strives to achieve equality of opportunity
        by rooting out “artificial, arbitrary, and unnecessary” employer-created barriers to
        professional development that have a discriminatory impact upon individuals.

  Teal, 457 U.S. at 451.


        Here, Plaintiffs have provided statistical evidence that African-Americans scored

 disproportionately lower than others taking the WCA, thereby reducing disproportionately their

 chances of promotion.3 Generally, if a minority group passes a selection test at a rate of 80% or

 less than the pass-rate of non-minorities as is the situation here, EEOC guidelines deem disparate

 impact established. 29 C.F.R. § 1607.4(D). Consistent with the appropoach taken by most other

 courts, the Seventh Circuit has often relied on the EEOC’s “four-fifths” rule as a useful



        3
          As Plaintiffs have done in their briefs, we too use the term “promotion” in its broadest
 sense, encompassing transfers, promotions or other procedures leading to an employee obtaining
 a position with higher pay, demonstrably preferable work conditions or greater opportunity for
 advancement. It has been asserted, and certainly little effort expended to dispute, that holding an
 hourly position at Citizens gas operations division was preferable to holding a similar position at
 the company’s manufacturing division, primarily due to a more pleasant work environment. It is
 uncontested that the manufacturing division has a higher percentage of African-American
 employees.

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 benchmark in analyzing disparate impact testing cases; see Allen v. City of Chicago, 351 F.3d

 306, 310 (7th Cir. 2003); Bew v. City of Chicago, 252 F.3d 891, 893 (7th Cir. 2001); Cox v. City of

 Chicago, 868 F.2d 217, 220 (7th Cir. 1989). Clearly, Citizens can not deny that the test results

 here fell within those guideline ranges. Given that the pass rate statistics provide the Plaintiffs

 with a decided advantage in establishing their prima facie case, Citizens has raised two, alternate

 grounds in their attempt to defeat the disparate impact claims at this juncture.


        The clearer of their two arguments is based on an analysis of the testimony of Citizens’s

 own expert, Dr. Gerald Barrett. Faced with the objective statistical analysis of the WCA

 pass/fail rates and the opinion of Plaintiffs’ expert, Dr. Charles Cranny, that the test had not been

 properly validated, Citizens counters with the report of Dr. Barrett which advances alternative

 reasons beyond Plaintiffs’ failures of the WCA to explain why none of the Plaintiffs received the

 job he bid for. After reviewing depositions, documents and professional literature, Dr. Barrett

 states that he “determined there were no statistically significant differences in selection rates

 based on race for all but one of the job postings” for which any Plaintiff applied. Dr. Barrett

 maintains that he reviewed each relevant selection decision involving a Plaintiff and determined

 that “the process involved a number of factors . . . (and that he) found no evidence that the

 personnel decisions were based on race rather than other valid factors.”


        Setting aside for the moment the fact that Dr. Barrett’s analysis draws only slightly on his

 own testing procedures and statistical expertise before venturing forth into the realm of fact

 finder, what small amount of “expert analysis” he does offer is primarily a round-about attempt

 to revisit the “bottom-line” defense which the Supreme Court has declared unavailable. Teal,


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 457 U.S. at 451. If a “must pass” selection test is given and each of the Plaintiffs failed the test,

 the fact that Dr. Barrett found “no statistically significant differences in selection rates based on

 race” for the job postings Plaintiffs were seeking to fill is of absolutely no relevance, given the

 holding in Teal. No significant difference “in selection rates based on race,” as Dr. Barrett puts

 it, is simply another way of saying that Citizens had a favorable “bottom-line.” Even if true, that

 fact does not prevent an African American Plaintiff from establishing a prima facie case of

 disparate impact, assuming that he failed the test, and that the test excluded African-Americans

 disproportionately, and that failure eliminated him from consideration for the promotion so long

 as he was unable to pass the test.


        The second reason proffered by Citizens, both in an effort to defeat Plaintiffs’ motion as

 well as to secure summary judgment in its favor, has more convincing legal underpinnings than

 its first argument. Citizens challenges the standing of each Plaintiff to bring a disparate impact

 claim in view of the Seventh Circuit’s requirement that an individual Title VII plaintiff, who

 alleges disparate impact in connection with a hiring or promotion decision, must establish that he

 was otherwise qualified for the position he sought. See Melendez v. Illinois Bell Telephone Co.,

 79 F.3d 661, 668 (7th Cir. 1996); Gilty v. Village of Oak Park, 919 F.2d 1247, 1255 (7th Cir.

 1990); Carpenter v. Board of Regents of University Of Wisconsin System, 728 F.2d 911, 915 (7th

 Cir. 1984). While at first reading the Supreme Court decision in Teal appears to conflict with

 this requirement, a closer examination of the reasoning underlying the Seventh Circuit decisions

 suggests the two approaches are not inconsistent especially in light of the part of the holding in




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 Teal that provides that losing “the opportunity to compete equally” is, in itself, an injury. Teal,

 457 U.S. at 451.


        The decision in Carpenter v. Board of Regents of University of Wisconsin System, 728

 F.2d 911 (7th Cir. 1984), was handed down by our court of appeals almost immediately following

 the Supreme Court decision in Teal. In Carpenter, the Seventh Circuit voiced its understanding

 that a plaintiff in an individual disparate impact case must be able to prove that a promotion was

 denied because of the discriminatory requirement and not for some other reason. In Carpenter,

 the plaintiff had no clear evidence demonstrating that the challenged employment policy had

 such a discriminatory impact, since after having been denied tenure, he was fired following his

 seventh year as a professor at the defendant university. Id. at 911-912, 914. The evidence

 established that he was denied tenure because his scholarship, which was one of three areas of

 evaluation for tenure, was viewed as deficient. Id. at 913. Carpenter claimed that the tenure

 process which the university followed had an adverse impact on all African-Americans, of which

 he was one, but he lacked any statistical evidence to prove that allegation. Id. at 914. More

 specifically, Carpenter alleged that the unwillingness of the university to extend the deadline for

 tenure consideration beyond seven years had an adverse impact on him because his added

 responsibilities which were imposed on him by the university in connection with his role in the

 newly created African-American Studies Department, had usurped time he would otherwise have

 had available to complete the tenure requirements. Id.


        After rejecting the plaintiff’s disparate impact claim for lack of evidence of

 discriminatory impact, the Seventh Circuit noted that plaintiff had also failed to show that the


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 extension of the tenure track beyond seven years would have cured whatever deficiency existed

 in his scholarship. Id. at 914-915. In reaching this conclusion, the court stated:

        We agree with the district court that a plaintiff in a disparate impact case must
        show that he or she was really injured by the policy alleged to have had a
        disparate impact. For example, a plaintiff denied a promotion could not challenge
        a promotion test as discriminatory, if promotion was denied for a reason
        completely unrelated to the test, such as lack of experience. Here, the district
        court determined that Carpenter failed to prove that any tendency to discriminate
        inherent in the seven year rule or the tenure standards really affected him. He
        simply failed to prove that the practices of which he complained had the
        discriminatory effect of which he complained. Even if the refusal to waive the
        seven year rule may appear overly strict, on these facts Title VII provides no
        remedy.

 Id. at 915. The factual circumstances in Carpenter involved a single plaintiff, a single promotion

 and a lack of evidence that the employment policy had had any discriminatory impact, as a

 consequence of which the Seventh Circuit ruled no actionable injury based on a disparate impact

 theory had been established.


        Thereafter, the Seventh Circuit examined a claim by an individual plaintiff in another

 disparate impact case in Gilty v. Village of Oak Park, 919 F.2d 1247, (7th Cir. 1990). Gilty was a

 police officer who, on more than one occasion, had misrepresented his academic credentials to

 his employer. On one such occasion, the misrepresentation was made during an oral interview

 conducted in connection with his effort to be promoted to Sergeant. Id. at 1248-49. Though his

 interview score was acceptable (his misrepresentations were not discovered until later) and his

 score on a written exam was comparatively strong, he was given the lowest score of all the

 candidates in his performance evaluation, which was the third of the three scored criteria for

 promotion. Id. at 1249. The plaintiff was not promoted nor was any other African-American

 officer who had applied at that time. Id. He brought suit alleging discrimination based on both

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 pattern and practice disparate treatment and the disparate impact of the subjective components of

 the promotion process. No class certification was sought by plaintiff on this claim. Id.


         Having subsequently discovered the inconsistent misrepresentations made by the plaintiff

 regarding his academic history, the Village successfully defended the decision of its police

 department not to promote Gilty, arguing that his lack of honesty disqualified him from

 consideration for promotion. With respect to his disparate treatment claim, plaintiff could not

 demonstrate the requisite element that he was “qualified” for the promotion or that there was

 direct evidence of discrimination against him. Id. at 1252. His disparate impact claim also

 failed on several fronts. Id. at 1254-55. After discussing the ways in which plaintiff’s statistical

 evidence was lacking, the Seventh Circuit opined that the evidence was irrelevant in any event

 where an individual has brought suit but could not establish that he was a qualified applicant for

 the promotion he was seeking. Id. at 1255. “If Gilty is to achieve individual relief, then he must

 establish that his individual circumstances entitle him to that relief. He cannot rely upon the

 qualifications of those not before this court to rescue him from the consequences of his own lack

 of qualification.” Id. Again, the court’s emphasis was on the fact that it had before it an

 individual claim made with respect to a particular promotion decision and that the relief sought

 was specific to that plaintiff alone.


         Melendez v. Illinois Bell Telephone Co., 79 F.3d 661 (7th Cir. 1996), is another case in

 which a single plaintiff asserted a disparate impact claim. In that instance, a standardized

 cognitive ability test was administered for entry into management. In its decision, the Seventh

 Circuit referenced its past decisions in Carpenter and Gilty, as well as the Supreme Court


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 decision in Teal, and concluded that a plaintiff lacked standing to sue under Title VII unless he

 could specifically claim that his injury was the direct result of the employment policy he was

 challenging. Id. at 667-68. In responding to the employer’s argument that the plaintiff had first

 to show that he was qualified for the position he sought, the Court said:

          “ ... this challenge raises concerns broader then the establishment of a prima
         facie case. In order for an individual plaintiff to have constitutional standing to
         bring a Title VII action, he must show that he was personally injured by the
         defendant’s alleged discrimination and that his injury will likely be addressed by
         the requested relief.”

 Id. at 668.


         In the end, the Seventh Circuit agreed with the district court’s finding in Melendez that

 the plaintiff had presented extensive direct evidence that he was not hired because he had failed

 the BSAT test at issue and that he was otherwise qualified. Id. at 668-69. The Court determined

 that the employer’s assertion that it would not have hired plaintiff in any event was a post-filing

 justification, considering that, after plaintiff had been interviewed, he was sent to take the test

 and, after being informed that he had not passed it, he was told he could retake the test in six

 months. Id. In its opinion, the court wrote: “Because plaintiff has sufficiently demonstrated

 that he was not hired due to his failure of the BSAT, we need not examine whether plaintiff was

 qualified for a management position.” Id. Our reading of the case persuades us that this

 particular holding means that, where direct proof exists establishing that failure of the test at




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 issue caused a plaintiff to receive no further consideration for hiring or promotion, he has

 standing to sue.4


        Whether examined from the standpoint of a “standing” issue or in terms of whether a

 prima facie case has been sufficiently established, Plaintiffs in the case at bar have proven that

 they were injured when they failed to pass a test which has been shown to have statistically

 discriminatory results and that they were thereby foreclosed from further consideration for

 promotions or transfers. In the words of the Supreme Court in Teal: “Title VII guarantees these

 individual respondents the opportunity to compete equally with white workers on the basis of

 job-related criteria.” Teal, 457 U.S. at 451 (emphasis in original). Once their failing scores on

 the discriminatory test eliminated them from an opportunity to compete further, these Plaintiffs

 incurred a cognizable injury and thereby gained standing to sue in order to be compensated for

 that injury. The statistical evidence of disparate impact contributes to their establishing the

 required prima facie showing.




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          We view this conclusion as consistent with the holding in Farrell v. Butler University,
 421 F.3d 609 (7th Cir. 2005), the most resent Seventh Circuit decision to address standing in a
 disparate impact case. In Farrell, a female professor applied for a college-wide award which, if
 she had won it, would have increased her salary. Though she met the qualifications to be
 considered for the award, she was not chosen. In her legal challenge to her failure to receive the
 award, she argued that the criteria for winning the award had disparately impacted females. Id.
 at 616. The Seventh Circuit held that, because the plaintiff had met the qualifications and was in
 fact an actual candidate, she was not injured by the employment policy at issue and did not have
 standing to raise the issue of its alleged disparate impact upon other women. Id. at 616-17.

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        Stated otherwise, all the Plaintiffs took the WCA in order to qualify for a promotion or

 transfer within Citizens Gas and failed the test, and thus were injured. This suffices to establish

 their prima facie case. Citizens has chosen not to rely on any defense of business necessity and

 therefore the analysis need go no further. Liability for disparate impact has been established,

 assuming the claims are timely, a subject we will address shortly.


        Prevailing on the issue of liability, however, does not automatically entitle each Plaintiff

 to an award of compensatory damages. Compensatory damages are not, as a matter of law,

 available as a remedy in a disparate impact case. 42 U.S.C. § 1981a(a)(1); S. Rep. No. 101-315,

 at 55 (1990). To the extent they are entitled to equitable relief it could come in the form of an

 award of back pay. In re Employment Discrimination Litigation, 198 F.3d 1305, 1315 n. 13 (11th

 Cir. 1999). There is also the possibility that a particular prevailing Plaintiff may be equitably

 entitled to placement in a particular position within the gas division of Citizens. Such

 determinations will require separate inquiries by the court on a plaintiff-by-plaintiff basis. We

 reserve that undertaking to another day. For now, it is enough to know that a Plaintiff who failed

 the WCA and filed a timely claim is at a minimum entitled to a decree that neither his scores or

 the test may be used in the future.


 Disparate Treatment Claims


        Each of the Plaintiffs here claims, in addition to being a victim of disparate impact

 discrimination, to be a victim of disparate treatment discrimination. They have asserted these

 claims under both Title VII and § 1981. None of the Plaintiffs has supported his individual

 disparate treatment claim with any direct evidence of discrimination, so, in hopes of prevailing,

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 each is proceeding under the indirect proof method explicated in McDonnell Douglas Corp. v.

 Green, 411 U.S. 792 (1973). To be successful on a claim of discriminatory failure to promote, a

 plaintiff must show that: (1) he is a member of a protected class; (2) he was qualified for and

 sought a promotion; (3) he was rejected for the promotion sought; and, (4) the position was not

 filled or was filled by a person who was not a member of the same protected class. Jordan v.

 City of Gary, Ind., 396 F.3d 825, 833 (7th Cir. 2005). Citizens concedes that all Plaintiffs in the

 case at bar are African-Americans and none received the promotion which he sought. The

 remaining legal and factual disputes, therefore, center on whether elements two and four above

 have been established.


        If a plaintiff successfully establishes a prima facie case, the burden then shifts to the

 employer to articulate a legitimate non-discriminatory reason for not promoting the particular

 plaintiff. McDonnell Douglas, 411 U.S. at 802. If the employer successfully articulates such a

 reason, the burden shifts back to the plaintiff employee, who then must bring forth evidence

 tending to show that the employer’s stated reason for its decision is a pretext for illegal

 discrimination. Id. at 804. If there is sufficient evidence of record to support a finding of

 pretext, the employee can avoid a summary judgment.


        In their brief, Plaintiffs contend that they might also attempt to prove disparate treatment

 by showing that Citizens engaged in a pattern-and-practice of discrimination against all African-

 American employees. However, as pointed out by Citizens, this passing remark represents

 Plaintiffs’ first mention of such argument. A “pattern-and-practice” theory was not raised in the

 EEOC charges, in the initial complaint or any of the amended complaints. Nor was any mention


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 of a pattern-and-practice theory included in the Case Management Plan.5 Because no pattern-

 and-practice claim was raised previously, Plaintiffs’ attempt at this juncture to interject this as a

 theory of relief is simply too late and the court, accordingly, shall not permit it to go forward.6


        The allegations made by each Plaintiff in his respective charge is unique to each Plaintiff

 and shall be addressed individually by the Court, infra. However, certain portions of their claims

 are common as to all the charges. Those identical allegations provide as follows:

        At all times, Charging Party met Respondent’s legitimate job performance
        expectations. Respondent implemented a “base line test” as a prerequisite for
        certain job classifications, beginning in 1987. Over the years, this base line test
        has been used in order to discriminate against African American employees in
        order to prevent them from obtaining promotions. In addition, the test has a
        discriminatory impact upon African American employees, such as the Charging
        Party, and has resulted in African American employees being promoted at a lower
        rate than white employees of similar background and seniority.




        5
          Litigants are required to delineate their legal theories to facilitate an understanding by
 the parties and the court on the particular dispute at bar in order to move the case forward to
 resolution in an efficient and fair manner. The nature of the dispute and the schedule for
 resolving it are included in the Case Management Plan. See L.R. 7.1.
        6
          Even if we were to allow Plaintiffs to pursue a pattern-and-practice theory of recovery
 on their disparate treatment claims, they are, for all practical purposes, left with only the
 discriminatory impact of the test and its continued use over many years by Citizens as evidence
 of such a pattern. We view this evidence as better suited to proving the disparate impact claim.
 “In order to prove that the employer has engaged in a pattern or practice of discrimination, then,
 the plaintiff must show that there is regular, purposeful, less-favorable treatment of a protected
 group.” King v. General Elec. Co., 960 F.2d 617, 623 (7th Cir. 1992). In any event, without
 significantly more than the three anecdotal examples they have cited referenced of individual
 perceived discrimination, Plaintiffs are far from meeting the threshold necessary to support a
 finding of a pattern of discrimination by Citizens against African-Americans.

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        Respondent has used the base line test sporadically, requiring some African
        American employees to take the test, but not white employees, refusing to allow
        African Americans to take the base line test in other instances, and designing the
        tests in such a matter that it discriminatorily impacts African American
        employees. Respondent has violated Charging Party’s rights, and those of
        similarly situated employees, in violation of Title VII and 42 U.S.C. § 1981, as
        well as other laws outside the jurisdiction of this agency.


        The charge language refers to “base line” testing that began in 1987. However, the

 specific test taken by each Plaintiff at issue here was what we refer to as the WCA. In 1999,

 Citizens began using the WCA. It was developed by Dr. Roland Guay and consisted of 120

 questions which were a consolidation of a larger, more extensive battery of tests. These earlier,

 more extensive tests were referred to at Citizens as “baseline tests” and were intended to

 measure a person’s aptitude for particular types of jobs. Their purpose in shifting to the more

 consolidated WCA, according to Citizens, was to improve their ability to determine a person’s

 aptitude for taking on new responsibilities. The WCA was not tailored to any particular job, but

 instead purported to measure general employability characteristics. Though we refer to this

 newer, consolidated test as the WCA, we acknowledge that the record reflects that certain parties

 and witnesses continue to use the more generic term of “baseline test” when referring to any of

 the tests that were given by Citizens.


        When Citizens employed the WCA, it did so more extensively than any single prior test

 so that its use over time came to include initial applicants for employment. From the start, the

 WCA was used to pre-qualify applicants for transfers or promotions between divisions. It was

 also used in connection with transfers or promotions within bargaining units as well as several

 non-bargaining units positions. Various minimum scores were required to qualify for various


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 types of positions (see footnote #1). Both Dr. Guay and Citizens regarded the WCA as an

 efficient, lower cost alternative to past groups of tests because it was easier to administer or

 grade. Dr. Guay graded the tests taken by employees and reported back the results to Citizens.

 The test was given at least quarterly, and the names of those persons who passed went on lists,

 making them eligible for openings existing at the time or which would arise in the future. A

 person could take or retake the test, without regard to whether an opening for a particular job

 actually existed at the time. Similarly, a person could bid for a posted job without having passed

 the test, but, without passing the WCA prior to the time the sought-after job was filled, the

 applicant would not be considered for that job. Other factors, such as an applicant’s disciplinary

 record and, importantly, his seniority were considered in filling a given position. Employees

 were free to sign-up for posted jobs, and, if eventually offered a position, they were still free to

 turn it down.


        Dr. Guay determined the scores necessary to pass the test. At all relevant times, he

 assured Citizens that his test was vocationally valid and would hold up to any legal challenge.

 The WCA was created as an outgrowth of testing Dr.Guay had done for another of his clients,

 Caterpillar Corporation, and he represented to Citizens that he had validated the use of the tests

 in connection with Caterpillar. Citizens never asked for nor received any separate validation

 studies or reports. Because the test had become an issue during the process of collective

 bargaining, certain union officials had attended meetings during which Dr. Guay explained the

 test’s use and validity, prompting them on at least one occasion to confront Citizens with their

 concerns over the potentially discriminatory nature of the test. Another meeting at which Dr.

 Guay addressed company and union officials included a comment by union representatives that

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 white males comprised 12 of the most recent 13 new hires and an inquiry as to the reason for that

 result. Dr. Guay’s specific response was not communicated to us, but testimony from one of the

 union officials indicates that both the union and company representatives who attended that

 meeting apparently were satisfied with Dr. Guay’s explanation as to the validity of the test

 results. However, in March of 2004, it appears that Dr. Guay, himself, had lost confidence in the

 test because at that time he advised Citizens that the test should no longer be used and stated that

 he would no longer score the test. Accordingly, Citizens discontinued its use of the WCA and

 has not replaced it since with any other test. Citizens advises that it has no current intention of

 substituting any new form of test.


        On these facts, based on the common allegations relating to all the Plaintiffs, two

 separate claims, which we refer to in this discussion as their general disparate treatment charges,

 are being asserted by them jointly; as to both, we find no basis in the evidence that permits them

 to go forward. In addition, most of the Plaintiffs claim that the denial of transfers to specific jobs

 also amounted to individualized disparate treatment. Following our discussion of the two

 general claims, we will address the more individualized claims which, we have determined, can

 also be analyzed and disposed of as a group.


        First, there is an allegation7 that Citizens relied on the test on a sporadic basis, at times

 requiring African Americans to take the test but not white employees. If true, this would clearly

 constitute actionable adverse action against these Plaintiffs. However, there is a complete lack

 of evidence in the record to support this allegation. In fact, the only evidence brought to our


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         This claim appears both in the EEOC charges and in the third amended complaint.

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 attention addressing this issue is the deposition testimony of six of the Plaintiffs to the effect that

 they were not aware of any instance when, in terms of who was required to take the WCA in

 order to qualify for transfer or promotion, a distinction was made based upon race or ethnicity.

 The evidence establishes that every employee seeking to be transferred to a position in another

 division of Citizens for which the test was required was required to take the test, without regard

 to the race of the individual employee. Consequently, with regard to Plaintiffs’ claim of

 disparate treatment based on their allegedly being required to take the test when Caucasians or

 others were not, Citizens is entitled to summary judgment.


        Plaintiffs’ next general disparate treatment claim is based on their allegation that Citizens

 utilized the test with the intent to discriminate against African Americans; as such, it is a more

 straightforward claim. Once again, however, there is no direct evidence to support any such

 intent on the part of Citizens. Plaintiffs argue that Citizens’s near total reliance on Dr. Guay

 regarding the test’s validity and its purported absence of discriminatory impact constituted the

 type of willful “head in the sand” ignorance that the Seventh Circuit has construed as intentional

 discrimination. In support of this argument, Plaintiffs cite E.E.O.C. v. Indiana Bell Telephone

 Co., Inc., 214 F.3d 813, 821 (7th Cir. 2000)(opinion vacated) and Jonasson v. Lutheran Child and

 Family Svcs., 115 F.3d 436, 438 (7th Cir. 1997). Quite apart from Plaintiffs’ questionable

 strategy of relying on a decision which was subsequently vacated, both of these cases are largely

 irrelevant because they each deal with an employer who ignored workplace sexual harassment of




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 which it was aware. Neither case deals with the type of disparate treatment which Plaintiffs have

 alleged here.


        Unlike the two employers in those two cited cases who were apparently inundated with

 reports of inappropriate sex-based behavior by the harassing employee, the record in the case at

 bar does not reveal that Citizens ever received much, if any, negative feedback - never mind

 actual complaints - regarding the use of the test. When a manager or union official did raise a

 question regarding the test, Citizens contacted Dr. Guay and, on at least two occasions, after he

 came to the workplace to make in-person explanations of the test, its function and validity, the

 concerns were quelled.


        There is no question that Citizens relied heavily on the expertise and advocacy of Dr.

 Guay in terms of its use and validity assumptions regarding the WCA. But substantial reliance

 on an expert who provides guidance to the employer, especially when that professional had

 served as a consultant since 1979, does not create an inference of intentional discrimination.

 Here, the evidence is clear that Citizens used what it believed to be a legitimate selection test to

 help identify the most qualified persons to fill certain positions. While Citizens may have been

 misguided or imprudent in placing such substantial reliance on Dr. Guay given the obvious

 economic stake he had in defending his “product” and “line of business,” which reliance

 increased Citizen’s exposure to any well founded claim of disparate impact should Dr. Guay’s

 advice prove faulty, no evidence exists to establish that the test used by Citizens was utilized by

 it for the purpose of discriminating against any particular group of employees. Plaintiffs’

 allegation that Citizens caused Dr. Guay to design a test that would intentionally discriminate is


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 simply unsupported by any evidence. Further, the statistical disparities in results between groups

 of test-takers was not so obvious as to prompt Citizens to question the expert assurances it was

 receiving from Dr. Guay.


        Plaintiffs’ inability to establish a discriminatory intent on the part of Citizens defeats

 their individualized claims of disparate treatment as well, because their individualized claims are

 based on Citizens’s refusal to place them in particular jobs, which amounts to intentional

 discrimination. Even if we assume that each Plaintiff met his obligation under McDonnell

 Douglas to show that he was qualified for a particular position and that the position was filled by

 a non-African American – an assumption Citizens vigorously challenges – the company has

 asserted without rebuttal by Plaintiffs both the lack of other qualifications and the facially

 neutral WCA results as the reasons for its decisions not to promote or transfer each Plaintiff.

 Without some evidence of an underlying discriminatory purpose in administering the test or in

 relying on Dr. Guay’s expert assurances as to its usefulness and validity, pretext has not been

 established. Accordingly, summary judgment on all of the Plaintiffs’ disparate treatment claims

 must enter in favor of Citizens.8


 Timeliness


        Before we move on to examine the specific disparate impact claims of each individual

 Plaintiff, we must address and resolve the issue of the applicable statute of limitations periods.

 Since all that remains at this point are Plaintiffs’ disparate impact claims, we need not worry


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        Plaintiff Thompson has a claim for disparate treatment which is discussed infra and, as
 we explain there, at least for now, remains viable.

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 about whether a two or four year limitations period would be applicable under 42 U.S.C. § 1981.

 Regarding Title VII claims, a charge of discrimination must be filed with the EEOC within 300

 days of the alleged discriminatory act and any lawsuit must be filed within 90 days following the

 receipt of right to sue letters from the EEOC. National R.R. Passenger Corp. v. Morgan, 536,

 U.S. 101, 109-110 (2002). Plaintiffs clearly filed their lawsuit within the 90-day time period

 following notification from the EEOC. Since only discriminatory acts which occurred within

 300 days before the date the EEOC charge was filed are actionable, the only time limitations

 question currently at issue is with respect to whether the discrimination complained of by each

 Plaintiff occurred within 300 days prior to his filing his charge with the agency.


        We wish this straightforward analysis of the issue would yield to as simple and

 straightforward an answer. Unfortunately, the parties are at odds with each other on various

 predicate matters bearing on the ultimate resolution of the question of the timeliness of

 Plaintiffs’ claims. Much of the conflict between them centers on identifying the discreet

 discriminatory acts that actually occurred, and, when they occurred. Plaintiffs contend that the

 giving of the inherently discriminatory test was the triggering act in terms of the limitations

 period, while Citizens references the denial of a particular job bid as the benchmark from which

 to measure the timeliness. Our analysis brings us to the conclusion that both are partially correct

 and partially incorrect.


        The emphasis on identifying “discreet acts of discrimination” arises from the Supreme

 Court’s decision in National R.R. Passenger Corporation v. Morgan, 536 U.S. 101 (2002), in

 which the Court ruled that related acts of discrimination which do not amount to a continuing or


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 ongoing violation do not support the bringing of a claim for those initial discriminatory acts

 which preceded the 300 day period for filing a charge. The Court emphasized that Title VII

 expressly references specific “discreet acts” or “occurrences” as the basis of prohibited

 discrimination. Id. at 111; 42 U.S.C. § 2000e-2. In effect, the Morgan decision permits the

 continuing violation doctrine to apply only to remediate hostile work environment or pattern-

 and-practice claims. See Dandy v. United Parcel Service, Inc., 388 F.3d 263, 270 (7th Cir. 2004).

 Otherwise, a plaintiff is precluded from recovery for an injury resulting from a discriminatory act

 occurring prior to the 300-day time period. Id.


        We view the injury incurred by a Plaintiff in the case at bar to have arisen at the point

 when his failure of the test prevented him from being considered for promotion on the same

 basis as those who passed the test, which is to say, the point in time after the test was scored and

 the Plaintiff was notified of his failing grade. Computed from the date of that notice, a Plaintiff

 had 300 days within which to file his EEOC charge to seek a remedy for his discrimination under

 Title VII. The notification to him of his failed test result constituted the “discreet act,” as the

 term is used in Morgan, which had a disparate impact upon him. That said, we also hold that,

 when a Plaintiff was denied a specific job that he was otherwise qualified for but for his test

 score, an alternative 300-day time period starts to run based on the “discreet act” of Citizens’s

 reliance upon the WCA score in denying him that position. While we have found that such a

 denial was not intentional discrimination, it too had a distinct unintentional discriminatory

 impact upon a Plaintiff.




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        Clearly, the types of remedy arising from these two kinds of claims may differ. For

 example, the denial of the right to compete fairly may warrant an injunction or remedial decree

 prohibiting the use of the WCA test scores in order to redress the harm to potential applicants.

 Whereas, if a Plaintiff can show that he did not apply for a position because of his failing score

 and he would have been otherwise eligible for that promotion, he may be entitled to some more

 specific and individualized form of equitable relief. Similarly, the denial of a specific promotion

 or transfer which a Plaintiff actually applied for and would otherwise have qualified for but for

 his test results could position that Plaintiff to receive an award of back pay and/or placement in

 the next available similar position. The statute gives the Court broad discretion in assessing

 whether equitable relief is appropriate and, if so, what form it should take. Accordingly, we

 examine below each Plaintiff’s individual claims in an effort to identify whether the agency

 charge was timely filed, and whether his claim under Title VII survives.


        Plaintiff Todd Davidson


        On July 1, 2002, Todd Davidson filed his charge of discrimination with the EEOC. The

 allegations contained in the charge unique to him provide as follows:

        Charging Party is employed in the manufacturing department as an industrial electrician
        for Respondent. Charging Party has been employed by respondent for 23 years.

        Charging Party took the base line test and applied for a promotion in August of
        2001. He was notified on September 11, 2001, that he did not get the promotion.
        He subsequently found out that the position was filled by a white employee with
        less seniority.




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        Applying our timeliness analysis as explicated above, the September 11, 2001,9

 notification to Davidson that he would not receive the position he had bid on because of his

 failing score on the WCA places his disparate impact claim clearly within the applicable 300-day

 time period preceding his filing of his EEOC claim on July 1, 2002. Thus, Mr. Davidson’s claim

 was timely. Whether he (or any of the other Plaintiffs, for that matter) was otherwise qualified

 for any particular position shall be determined separately, when we examine the relief to which

 he is entitled. We note that the record reflects that Mr. Davidson did bid for positions

 subsequent to taking and failing the test and was denied those jobs as well.


        Plaintiff Wilbert Wiggins


        Wilbert Wiggins filed his charge with the EEOC on September 5, 2002. His charge

 contains the same general allegations of disparate treatment as were filed by his co-Plaintiffs.

 His charge also asserts specific disparate treatment with regard to restrictions which Citizens put

 on his activities as a janitor; however, Mr. Wiggins has chosen not to pursue that claim in this

 litigation. The allegations contained in the charge with regard to the WCA unique to him

 provide as follows:

        Charging Party was employed in the manufacturing department as a Boiler Room
        Operator for Respondent. Charging Party was an employee of Respondent from
        March 8, 1985 to the present.

        Charging Party took the base line test and applied for a promotion on March 28,
        2002. He was notified thereafter that he did not get the promotion. He
        subsequently found out that the position was filled by a white employee with less
        seniority.


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          We can not help but note in passing the coincidence of this event with the fateful and
 tragic events unfolding elsewhere.

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        Citizens asserts that Wiggins most recently took the WCA on December 28, 2001, which

 date would make his September 5, 2002 claim of disparate impact in his EEOC charge timely, at

 least with respect to the injury associated with the testing requirement itself. However, Mr.

 Wiggins has included no argument or claim with respect to any particular job he alleges to have

 been denied in 2002, claiming only that he was denied positions in 2000 and February of 2001,

 which, of course, would not be timely.


        Plaintiffs contend that the “piggy-back” or “single-filing” rule applies here, which would

 allow any individual Plaintiff who did not file a charge within 300-days of a specific job denial

 to benefit from the filing of a charge by another employee with respect to his denial of the same

 position. The “piggy-back” rule references a court-made exception to the requirement that an

 individual claimant must timely exhaust his administrative remedies before being allowed to file

 suit. See Horton v. Jackson County Bd. of County Com’rs., 343 F.3d 897, 899 (7th Cir. 2003).

 This exception is based on the theory that, if the claim implicates the same conduct complained

 of by one person who did raise the alleged discrimination in his charge, that should suffice as to

 all such potential claimants because the purpose of the charge-filing requirement - namely, to

 provide an opportunity for the agency to facilitate a resolution - has been satisfied. Id. Plaintiffs

 maintain that especially in a disparate impact case such as this, that rule is appropriate.


        We are prepared to apply that exception to the general rule with respect to claims arising

 out of the test requirement itself, since there the claim and the remedy are one and the same. All

 employees seeking inter-division transfers who were made to take a test which

 disproportionately favored non-African Americans suffered the same wrong and, clearly, the best

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 remedy to that wrong would be to enjoin the employer from relying on the test for selection

 purposes in the future. Additionally, where a single Plaintiff continues to have his job bids

 denied because of the effect of his test score(s), so long as he filed a charge complaining of the

 employer’s reliance on the test in connection with a job denial, no legitimate purpose would be

 served by requiring that person to file additional charges with each successive denial. However,

 where multiple Plaintiffs are claiming to be qualified for and entitled to the same position, a need

 arises for each individual to assert that specific claim in order to permit a resolution to be

 reached at the agency level, if possible. Consequently, it is our judgment that the “piggy-back”

 rule does not apply to a claim by an individual Plaintiff, like Wiggins, who was denied transfer

 or promotion to a job more than 300 days prior to his filing a charge with the EEOC. Thus, we

 hold that Mr. Wiggins’s claim is limited to obtaining a remedy which would prohibit Citizen’s

 further reliance upon the WCA or its results, but nothing more particularized to him.


        Plaintiff George Douglas, Jr.


        On August 21, 2002, George Douglas, Jr. filed his charge of discrimination with the

 EEOC. The allegations contained in the charge unique to him provide as follows:

        Charging Party was employed in the manufacturing department as a Mason A-rate
        for Respondent. Charging Party has been an employee of Respondent from
        October 7, 1981 to the present.

        Charging Party took the base line test and applied for promotions routinely during
        his employment with the Respondent, including August 28, 2001 and March 22,
        2002. He was notified each time that he did not get the promotions. He
        subsequently found out that white employees with less seniority filled the
        positions.

        On June 27, 2002, the Charging Party once again took the base line test. On July
        17, 2002, the Respondent informed him that he passed the base line test. The

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        Respondent immediately placed the Charging Party on suspension without pay, so
        that an investigation would be conducted to determine if the Charging Party had
        cheated on the base line test. White employees have not been placed on
        suspension, nor investigated for cheating when they have passed the base line test.


        The Third Amended Complaint and the discussion in the briefs supporting these motions

 for summary judgment make clear that Douglas has not pursued a disparate treatment claim with

 respect to Citizens’s challenge to his passing score. However, Citizens has acknowledged that

 he took the WCA within 300 days prior to filing his EEOC charge, making his disparate impact

 claim timely with respect to the test requirement and with respect to any denial of a job solely

 because of his test score, assuming the denial also occurred within the 300-day period. Thus,

 Douglas’s disparate impact claim survives the motion for summary judgment, but like the others

 he has no surviving disparate treatment claim.


        Plaintiff Charles Magee


        Charles Magee filed his charge with the EEOC on August 27, 2002. The unique

 allegations in his charge provide as follows:

        Charging Party has been an employee of Respondent from June 3, 1987 to the
        present.

        Charging Party took the base line test and applied for promotions approximately
        every three (3) months during his employment with the Respondent. He was
        notified each time thereafter that he did not get the promotions. He subsequently
        found out that white employees with less seniority filled most of the positions.

        On June 28, 2002, the Charging Party once again took the base line test. On July
        17, 2002, the Respondent informed him that he passed the base line test. The
        Respondent immediately placed the Charging Party on suspension without pay, so
        that an investigation could be conducted to determine if the Charging Party had
        cheated on the base line test. White employees have not been placed on
        suspension, nor investigated for cheating, when they have passed the base line

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        test.

        As was true with Plaintiff Douglas, Mr. Magee has also chosen not to pursue a claim of

 disparate treatment regarding the alleged cheating incident. Citizens admits that Magee took the

 WCA on December 28, 2001, clearly within the 300-day pre-filing time frame, making his

 disparate impact claim timely as to the discriminatory testing in December 2001 and any

 succeeding tests he may have taken and not passed. In addition, any part of his claim which is

 based on being denied a position solely because of the score he received on any of the tests after

 the 300 day cut-off is also timely and survives summary judgment.


        Plaintiff Daron Thompson


        Paragraph 26 of the Third Amended Complaint asserts: “Daron Thompson passed the

 test and obtained a transfer, but was paid less then his white co-workers holding the same job.”

 Despite this allegation, Thompson filed a charge of discrimination with the EEOC complaining

 that he took the WCA, was denied a position and found out that a white employee with less

 seniority was given the position. Thompson’s charge was filed with the agency on July 16, 2002

 and Citizens admits he had taken the WCA on June 27, 2002. Assuming the accuracy of the

 WCA score summaries prepared and submitted by counsel for Plaintiffs, Thompson appears to

 have failed the June 27, 2002 test.


        What Mr. Thompson is specifically claiming in this lawsuit is confusing at best and the

 briefing by counsel has not helped to clarify his theory of relief. Citizens seeks summary

 judgment as to all of Thompson’s claims, yet fails to address the allegation in the Third

 Amended Complaint that Thompson was paid less than white co-workers holding the same

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 position as he. Instead, Citizens focused on the fact that the WCA was not required for the jobs

 within the manufacturing division that Thompson had bid on and that he became an employee of

 Citizens in its manufacturing division after June of 1987 and therefore did not qualify for

 transfer to a job in another division.


        Plaintiffs counter, citing an instance of a white employee in manufacturing with less

 seniority than Thompson who was allowed to transfer to the gas division and relying on a

 deposition excerpt which we could not locate by the referenced exhibit number. Thompson

 seems to concede that he may not have had the ability to compete with others at Citizens for a

 gas division position, but maintains that he should at least have had the same opportunity to fill

 positions in the gas division as were filled by applicants off the street. According to Thompson,

 his test scores prevented that, but no mention is made in the supporting brief of his claim in the

 Third Amended Complaint that he was placed in a new position but paid less than others.


        There is some evidence that Thompson took the WCA and failed. Unless his taking of

 the test was a mistake, which, as we understand it, is not Citizens’s defense here, he has a

 disparate impact claim. Based solely on the allegations of the Third Amended Complaint and

 the failure of Citizens to address those allegations, Thompson’s disparate treatment claim with

 respect to unequal pay also survives Defendant’s summary judgment motion, at least for now.




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        Plaintiff Eugene Smith


        On August 28, 2002, Eugene Smith filed his charge of discrimination with the EEOC.

 The allegations contained in the charge unique to him provide as follows:

        Charging Party was employed in the manufacturing department as a By-Product
        Operator for Respondent. Charging Party has been an employee of Respondent
        from September 17, 1979 to the present.

        Charging Party took the base line test and applied for a promotion on June 27, 2002. He
        was notified thereafter that he did not get the promotion. He subsequently found out that
        the position was filled by a white employee with less seniority.


        There is no apparent dispute that Eugene Smith took the WCA in June of 2002, which

 means that he had taken the test within 300 days prior to the August filing of his charge. In

 addition, he bid for a position in the gas division subsequent to taking the test in June of 2002

 and did not receive it. As it has argued in other instances, Citizens maintains that Smith would

 not have received the job he had bid on regardless of his score. While that may be true, such a

 fact goes only to the possibility of back-pay, which is not an issue we are reaching today in this

 ruling. Smith’s claim therefore shall proceed.


        Plaintiff George Rodgers


        George Rodgers works as a mason in the manufacturing division and has been a Citizens

 employee since July of 1981. He took the WCA in April of 2002. He filed his charge of

 discrimination with the EEOC in August of that same year. He, too, sought, but was denied, a

 position in the gas division subsequent to taking the test. His claim is timely, thereby potentially




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 entitling him to some form of relief beyond injunctive relief, depending on the individualized

 proof he is able to adduce.


        Plaintiff Kenton Smith


        Kenton Smith filed his EEOC charge on August 27, 2002. He asserts that he took the

 WCA on December 28, 2001. Like certain other Plaintiffs, he also works in the manufacturing

 division. Subsequent to taking the test, he had applied for one position at the gas division and

 was turned down. He also claims that he did not apply for other positions because he thought it

 useless in light of his test score. We find, on the basis of these showings, that Kenton Smith’s

 disparate impact claim is timely; whether he can establish an entitlement to some form of

 equitable relief beyond an injunction, however, must also await another day.


                            Business Necessity and Available Remedies


        Citizens has not sought to establish that, despite the differentiated pass rates between

 Caucasians and African Americans, the WCA was administered in response to a valid business

 necessity. To establish business necessity, Citizens would need to have shown that the test

 measured criteria that had a demonstrable relationship to successful performance of a specific

 type of job. Bew v. City of Chicago, 252 F.3d 891, 894-95 (7th Cir. 2001). Absent such proof, an

 inference of discrimination arises as a result of the test scores exceeding the “four-fifths” rule,

 see 29 CFR § 1607.4(D), and, on that basis, the Court finds that Citizens has violated the

 disparate impact provisions of Title VII with respect to each of the eight (remaining) Plaintiffs.


        What remedies flow from these determinations as to each Plaintiff is a more complex

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 matter, but it is at this point where Plaintiffs’ claims begin to lose some of their momentum.

 While we do not reach the issue of “damages”10 today, it is clear that Citizens’s rebuttal evidence

 is highly compelling with respect to each of the individual claims of damages, especially when

 compared to that available to it in attempting to fend off a finding of liability. We think it might

 be helpful to the parties, therefore, for the Court to explicate here our intended methodology for

 resolving each Plaintiff’s entitlement to relief.11 As discussed previously, if the only injury

 proven by an individual Plaintiff is the denial of the chance for him to compete fairly with others

 for particular positions, his remedy would likely be limited to a non-monetary recovery, because,

 we repeat, compensatory and punitive damages are only available where intentional

 discrimination is present. Only if a Plaintiff is able to prove that “but for” his failing score on

 the WCA, he would have received a specific position in the gas division, would he be entitled to

 something more than an order ensuring that in the future he will compete on a level playing field.




        10
            “Damages” may not be the most appropriate term here in light of the fact that any
 entitlement to a remedy would be purely equitable. One equitable remedy being sought and
 which may be available here upon a proper showing is back pay; because back pay usually
 means “money”, we tend to express that loosely as “damages.” For a good discussion of the
 “damages” or “available relief” issue as it pertains to individual disparate impact claims, see 2
 Arthur Larson, Employment Discrimination, ch. 31 § 31.02 (2nd ed. 2006). This topic is also
 discussed extensively in In re Employment Discrimination Litigation, 198 F.3d 1305, 1315 n. 13
 (11th Cir. 1999).
        11
           Any trial in this cause will be to the Court. A jury trial is only available when a Title
 VII plaintiff is pursuing a claim of intentional discrimination. 42 U.S.C. § 1981a(c). Though we
 have allowed Daron Thompson’s disparate treatment claim for unequal pay to survive, we have
 done so primarily because of the silence of both parties concerning the allegations in the Third
 Amended Complaint. Should this claim be further developed through additional motions
 practice, it may also yield to a summary ruling. However, should there be disputed material facts
 with respect to the claim, it would likely be severed from the remaining claims, thus allowing
 Mr. Thompson to pursue his right to a trial on that issue.

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        If an individual Plaintiff establishes that he should have received a certain position in the

 gas division, the court may conclude that he is entitled to be placed in that position and/or to

 receive back-pay accruing during the intervening period of time. Another remedial option might

 be to assign an eligible Plaintiff priority standing with regard to the next available position in the

 gas division. However, unless a Plaintiff can establish that he was prevented from working in

 the gas division by virtue of his test score or scores, his remedy will, in all likelihood, be limited

 to an order enjoining Citizens from any future discriminatory action against him based on his

 WCA scores.


        One additional “damages” issue deserves mention here as well: we have ruled that

 Plaintiffs have prevailed on their disparate impact claim and, as prevailing parties, they are

 entitled to have Citizens pay their reasonable attorneys fees. See 42 U.S.C. § 2000e-5(k). “The

 degree of a party’s success can bear on the propriety of the amount of the fee award.” Bruso v.

 United Airlines, Inc., 239 F.3d 848, 865 (7th Cir. 2001). Whatever relief a plaintiff secures must

 directly benefit him at the time of judgment to permit him to recover attorney fees as a prevailing

 party. Farrar v. Hobby, 506 U.S. 103, 111 (1992). In the context of this litigation, the term

 “reasonable” takes on a special significance, because, as was made clear from our prior rulings,

 we have declared that the manner in which this case was initially prosecuted by Plaintiffs’

 counsel was far less than a model of efficiency and effective litigation management. Therefore,

 we provide this advance notice that any petition for attorney fees by Plaintiffs will be examined

 in light of the history of the case and the final outcome to assure that any award of fees is




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 reasonable and reflective of the work that was necessary to secure the benefits obtained by any

 individual Plaintiff.


                                    Summary of Court Rulings


         Each Plaintiff is entitled to summary judgment with respect to his claim of liability

 against Citizens for disparate impact discrimination; therefore, Plaintiffs’ Motion for Partial

 Summary Judgment (Document #346) is GRANTED. Citizens is entitled to summary judgment

 on all claims of Sidney Williams and Jimothy Amos and the claims of all Plaintiffs based on

 disparate treatment, with the exception of the claim of unequal pay asserted by Daron

 Thompson; therefore, Defendant’s Motion for Summary Judgment (Document #352) is

 GRANTED IN PART.


         A bench trial of the particular disparate impact claims of each remaining Plaintiff shall be

 scheduled after the parties and their counsel have had an opportunity to discuss the rulings made

 herein, preferably facilitated by the Magistrate Judge. Accordingly, counsel for both sides are

 directed to confer forthwith and provide to the Magistrate Judge at least three mutually agreeable

 dates during January or February, 2007, when such a conference can be conducted.


         IT IS SO ORDERED 01/18/2007



                                                          _______________________________
                                                           SARAH EVANS BARKER, JUDGE
                                                           United States District Court
                                                           Southern District of Indiana



 Copies to:

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